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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, REV. CLEE
EARNEST LOWE, DR. ALICE WASHINGTON,
STEVEN HARRIS, BLACK VOTERS MATTER
CAPACITY BUILDING INSTITUTE, and THE
LOUISIANA STATE CONFERENCE OF THE
NAACP,

                             Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                     SDD-SDJ
v.

NANCY LANDRY, in her official capacity as
Secretary of State of Louisiana,

                             Defendant.


                           [PROPOSED] SCHEDULING ORDER

       Having sought submissions from the parties for scheduling proposals in its February 8,

2024 Order, ECF No. 233, the Court HEREBY ORDERS as follows:

       In In re Landry, 83 F.4th 300 (5th Cir. 2023), the Fifth Circuit mandamus panel pointed to

Alabama’s process following the Supreme Court’s issuance of Merrill v. Milligan as an example

of “an adequate opportunity to accomplish a redistricting compliant with final judgment,”

highlighting that the court afforded the legislature six weeks from the Supreme Court’s remand.

Id. at 306 (“the Alabama court on remand from the Supreme Court afforded the state an adequate

opportunity to accomplish a redistricting compliant with final judgment”). That six-week period

was measured from the date of the Supreme Court’s order remanding the case, not the date of the

three-judge panel’s scheduling order. And the six-week period was not measured by number of

legislative session weeks—the total number of weeks from the date the decision was issued was

six, whereas the Legislature had only one week of session time. See Singleton v. Allen, No. 2:21-
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CV-1291-AMM, 2023 WL 5691156, at *2 (N.D. Ala. Sept. 5, 2023); Governor of Alabama,

Proclamation (June 27, 2023), https://perma.cc/D4F9-78VJ.

       The Court hereby enters the following schedule, which provides the Legislature with more

than ten weeks from the date of this Court’s merits decision (issued on February 8, 2024) to pass

new state legislative maps, and provides Defendants with more than seven weeks from the receipt

of Plaintiffs’ proposed remedial maps and supporting expert reports (all of which were served as

of March 19, 2024) to mount their defense to those maps:

              a. April 24, 2024: Deadline for Legislature to enact state House and Senate maps
                 that are compliant with the Court’s February 8, 2024 Order

              b. April 26, 2024: Deadline for Plaintiffs to notify Court whether they oppose the
                 new enacted maps, if any

              c. May 8, 2024: Deadline for Defendants’ opposition to Plaintiffs’ maps
                 (including rebuttal reports), and Defendants’ submission on proposed remedial
                 maps (including any supporting expert reports)

              d. May 15, 2024: Deadline for Plaintiffs’ opposition to Defendants’ maps
                 (including rebuttal reports)

              e. May 22, 2024: Remedial hearing


       Signed in Baton Rouge, Louisiana, this ____ day of __________________, 2024.


                          ___________________________________
                                 Chief Judge Shelly D. Dick
